        Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 1 of 53




                                The Honorable Carl J. Nichols
    Judge of the United States District Court for the District of Columbia (Washington, DC)
                                333 Constitution Avenue N.W.
                                    Washington D.C. 20001
                    Telephone of Judge’s Chambers: 001 - (202) 354-3440
                Telephone of Judge’s Courtroom Deputy: 001 - (202) 354-3101


Dear Honorable Courts of the Philippines:

        The undersigned requests your assistance in obtaining evidence that is located in the
Philippines for use in connection with a civil lawsuit that is currently pending in the United States
District Court for the District of Columbia. Information regarding the requested evidence and the
matter to which it relates is as follows:

      Name of the U.S.               Smartmatic USA Corp., Smartmatic International
      case                           Holding B.V., and SGO Corporation Limited versus
                                     Herring Networks, Inc., doing business as One
                                     America News Network (Case Number 1:21-cv-
                                     02900-CJN)

      Court, Judge, and              United States District Court for the District of
      Case Number                    Columbia, Judge Nichols presiding (Case Number
                                     1:21-cv-02900-CJN)


      Names and addresses of the parties and
      their representatives (article 3, b)

      a Plaintiffs                   Smartmatic USA Corp., Smartmatic International
                                     Holding B.V., and SGO Corporation Limited
                                     (collectively referred to in this document as
                                     “Plaintiff”)

          Representatives            Joel Erik Connolly
                                     Benesch, Friedlander, Coplan & Aronoff LLP
                                     71 S. Wacker Drive
                                     Suite 1600
                                     Chicago, IL 60606
                                     001 - 312-212-4949
                                     Email: econnolly@beneschlaw.com

      b Defendant                    Herring Networks, Inc., doing business as One
                                     America News Network
 Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 2 of 53




  Representatives     Charles L. Babcock
                      Jackson Walker L.L.P.
                      1401 McKinney
                      Suite 1900
                      Houston, TX 77010
                      001 - 713-752-4210
                      Email: cbabcock@jw.com

Summary of            Plaintiff contends that Defendant defamed Plaintiff
complaint             through a series of television broadcasts occurring
                      after the U.S. presidential election in 2020. Plaintiff
                      contends that the Defendant told its audience that
                      Plaintiff’s voting machines were compromised and
                      that the reported outcome of the election could not
                      be trusted. Plaintiff contends that Defendant falsely
                      accused Plaintiff of “having connections to corrupt
                      dictators,” including Hugo Chavez, and “of having
                      previously rigged an election in Venezuela.”
                      Plaintiff contends that Defendant’s statements have
                      harmed Plaintiff’s reputation on an international
                      scale.

Summary of defense    Defendant contends that it is not liable because
                      statements appearing on the television broadcasts at
                      issue: were not defamatory; were protected by the
                      First Amendment to the U.S. Constitution;
                      Defendant did not make any statements with actual
                      malice; the statements were true or substantially
                      true; the statements were privileged as a fair report;
                      Plaintiff did not suffer any damage as a result of any
                      statements made by Defendant; and any reputational
                      harm that Plaintiff has allegedly suffered has been
                      due to its own conduct in various jurisdictions,
                      including the Philippines, not Defendant’s
                      statements.

Documents             1. The undersigned requests that you ask the
requested to be       Philippines Commission on Elections (“Comelec”),
obtained from the     the Philippines Department of Justice, and the
Philippines           Philippines Department of Information and
                      Communications Technology to produce documents
                      regarding issues, problems, and investigations
                      relating to Plaintiff’s software, machines, voting or
                      election technology, or support services used in
                      elections, including specifically:
 Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 3 of 53




                        (a) relating to the 2017 indictments of several
                        employees of Plaintiff (Marlon Garcia, Neil
                        Baniqued, Mauricio Herrera) and Comelec
                        personnel relating to changing the script in the
                        election transparency server on election night during
                        the May 2016 national and local polls.
                        (b) payments made to Comelec Chairman Andres
                        Bautista from a law firm (Divina Law) representing
                        Plaintiff, and which resulted in a House Resolution
                        (no. 1171) filed by House Deputy Minority Leader
                        Harry Roque seeking a legislative inquiry regarding
                        payments;
                        (c) the arrest of Ricardo Argana (quality assurance
                        tester for Smartmatic) relating to Argana’s dealings
                        with Winston Steward in providing access to
                        Smartmatic’s servers through his computer in the
                        Comelec office; and
                        (c) the 2008 ARMM (Autonomous Region of
                        Muslim Mindanao) election, and several precincts in
                        Wao, Lanao del Sur, showing zero results, after
                        which someone from Smartmatic accessed the
                        machines and made corrections from Manila.

                        2. The undersigned also requests that you ask that
                        Eliseo Rio, Jr.; Augusto Lagman; Franklin Ysaac,
                        and Leonardo Odoño (former Comelec officials)
                        provide the petition they filed with Comelec in or
                        about June of 2023 to disqualify Smartmatic from
                        participating in the bidding for the 2025 automated
                        election system.

Questions to be         The undersigned also requests that the following
asked of persons in     four (4) former officials from Comelec be
the Philippines to be   questioned under oath and their testimony
examined under oath     transcribed regarding the petition they filed with
                        Comelec in or about June of 2023 to disqualify
                        Smartmatic from participating in the bidding for the
                        2025 automated election system: Eliseo Rio, Jr.;
                        Augusto Lagman; Franklin Ysaac, and Leonardo
                        Odoño.

                        The undersigned requests that these individuals be
                        asked the following questions:

                        1. Please describe the “‘serious irregularities’
                        involving discrepancies between the transmission
        Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 4 of 53




                                      logs and reception logs of election returns from the
                                      precinct level to the Comelec’s Transparency Server
                                      (TS).”1

                                      2. Please state the basis for your position that
                                      Smartmatic should be disqualified from
                                      participating in the bidding for the 2025 automated
                                      election system.

        Additionally, the undersigned requests that, in connection with providing the requested
documents, an appropriate individual from the organization producing the documents complete
and execute the attached declaration. If this is unacceptable, the undersigned requests that a
certification be made that the documents that are produced are true and correct copies of the
originals.

         Additionally, the undersigned requests that the requested foregoing documents and
testimony be collected and provided to the undersigned by 30 November 2023. The reason for
this is that the exchange of fact evidence in this case closes on 8 December 2023.

       If you have any questions about this request, please do not hesitate to reach out to the
undersigned at its telephone number or address listed above.

                                                Sincerely,



                                                The Honorable Carl J. Nichols
                                                U.S. District Court for the District of Columbia




1
 ABS-CBN News (June 16, 2023), Ex-DICT chief, others seek to ban Smartmatic in 2025 polls | ABS-CBN News,
https://news.abs-cbn.com/news/06/16/23/ex-dict-chief-others-seek-to-ban-smartmatic-in-2025-polls.
        Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 5 of 53




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                     No. 1:21-cv-02900-CJN
                       Plaintiffs,
        v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                       Defendant.


                                        DECLARATION

        1.      My name is _____________________. I am over the age of eighteen (18) years.

The facts stated in this declaration are based on my personal knowledge and my review of records,

and are true and correct.

        2.      I am the _________________________________ [insert job title/position] for

_____________________ [insert name of employer]. As part of my job duties, I am familiar with

the record keeping practices of _____________________ [insert name of employer].                The

documents being produced by _____________________ [insert name of employer] were made at

or near the time by – or from information transmitted by – someone with knowledge; were kept in

the course of a regularly conducted activity of the organization; and making the record was a

regular practice of that activity.

        3.      I declare under criminal penalties of the laws of the Philippines that the foregoing

is true and correct.

EXECUTED on the _____ day of ______ month, 20___.

                                                      Signature:
                                                      Name: ________________
        Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 6 of 53




                                The Honorable Carl J. Nichols
    Judge of the United States District Court for the District of Columbia (Washington, DC)
                                333 Constitution Avenue N.W.
                                    Washington D.C. 20001
                    Telephone of Judge’s Chambers: 001 - (202) 354-3440
                Telephone of Judge’s Courtroom Deputy: 001 - (202) 354-3101


Dear Honorable Courts of Kenya:

        The undersigned requests your assistance in obtaining evidence that is located in Kenya
for use in connection with a civil lawsuit that is currently pending in the United States District
Court for the District of Columbia. Information regarding the requested evidence and the matter
to which it relates is as follows:

      Name of the U.S.             Smartmatic USA Corp., Smartmatic International
      case                         Holding B.V., and SGO Corporation Limited versus
                                   Herring Networks, Inc., doing business as One
                                   America News Network (Case Number 1:21-cv-
                                   02900-CJN)

      Court, Judge, and            United States District Court for the District of
      Case Number                  Columbia, Judge Nichols presiding (Case Number
                                   1:21-cv-02900-CJN)


      Names and addresses of the parties and
      their representatives (article 3, b)

      a Plaintiffs                 Smartmatic USA Corp., Smartmatic International
                                   Holding B.V., and SGO Corporation Limited
                                   (collectively referred to in this document as
                                   “Plaintiff”)

         Representatives           Joel Erik Connolly
                                   Benesch, Friedlander, Coplan & Aronoff LLP
                                   71 S. Wacker Drive
                                   Suite 1600
                                   Chicago, IL 60606
                                   001 - 312-212-4949
                                   Email: econnolly@beneschlaw.com

      b Defendant                  Herring Networks, Inc., doing business as One
                                   America News Network
         Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 7 of 53




           Representatives                Charles L. Babcock
                                          Jackson Walker L.L.P.
                                          1401 McKinney
                                          Suite 1900
                                          Houston, TX 77010
                                          001 - 713-752-4210
                                          Email: cbabcock@jw.com

       Summary of                         Plaintiff contends that Defendant defamed Plaintiff
       complaint                          through a series of television broadcasts occurring
                                          after the U.S. presidential election in 2020. Plaintiff
                                          contends that the Defendant told its audience that
                                          Plaintiff’s voting machines were compromised and
                                          that the reported outcome of the election could not
                                          be trusted. Plaintiff contends that Defendant falsely
                                          accused Plaintiff of “having connections to corrupt
                                          dictators,” including Hugo Chavez, and “of having
                                          previously rigged an election in Venezuela.”
                                          Plaintiff contends that Defendant’s statements have
                                          harmed Plaintiff’s reputation on an international
                                          scale.

       Summary of defense                 Defendant contends that it is not liable because
                                          statements appearing on the television broadcasts at
                                          issue: were not defamatory; were protected by the
                                          First Amendment to the U.S. Constitution;
                                          Defendant did not make any statements with actual
                                          malice; the statements were true or substantially
                                          true; Plaintiff did not suffer any damage as a result
                                          of any statements made by Defendant; and any
                                          reputational harm that Plaintiff has suffered has been
                                          due to its own conduct in various jurisdictions,
                                          including Kenya, not Defendant’s statements.

       Documents                          The undersigned requests that you ask the Kenyan
       requested to be                    national police service’s investigative unit, the
       obtained from                      Directorate of Criminal Investigations (DCI), for
       Kenya                              reports and supporting documents related to its
                                          determination that three Smartmatic employees
                                          (Salvador Javier Suarez, Jose Gregorio Comargo
                                          Castellano and Joel Gustavo Rodriguez Garcia) had
                                          illegal access to Kenya’s electoral commission
                                          servers five months ahead of the country’s general
                                          election on August 9, 2022.1 Additionally the

1
 IEBC servers were breached, forensic analysis shows | Nation, https://nation.africa/kenya/news/politics/iebc-
systems-were-breached-analysis-shows-3929366 (Aug. 29, 2022); see also DCI report: Venezuelans infiltrated
         Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 8 of 53




                                           undersigned requests records reflecting the arrest of
                                           those three Smartmatic employees on July 22, 2022
                                           on their arrival at the country’s airport in Nairobi.

        Additionally, the undersigned requests that, in connection with providing the requested
documents, an appropriate individual from the organization producing the documents complete
and execute the attached declaration. If this is unacceptable, the undersigned requests that a
certification be made that the documents that are produced are true and correct copies of the
originals.

        Additionally, the undersigned requests that the requested foregoing documents be collected
and provided to the undersigned by 30 November 2023. The reason for this is that the exchange
of fact evidence in this case closes on 8 December 2023.

       If you have any questions about this request, please do not hesitate to reach out to the
undersigned at its telephone number or address listed above.

                                                      Sincerely,



                                                      The Honorable Carl J. Nichols
                                                      U.S. District Court for the District of Columbia




IEBC systems | Nation, https://nation.africa/kenya/news/politics/dci-venezuelans-infiltrated-iebc-systems-3928666
(Aug. 28, 2022) (“The three Venezuelans at the heart of poll rigging claims may have infilitrated the country’s
electoral system thereby compromising the credibility of the August 9 polls, a forensic analysis report has revealed.
The report by the Directorate of Criminal Investigations (DCI) has disclosed how the three foreigners had unfettered
access to the Independent Electoral and Boundaries Commission (IEBC) result transmission server and could log
into the systems remotely. . . .”).
        Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 9 of 53




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                    No. 1:21-cv-02900-CJN
                    Plaintiffs,
        v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                    Defendant.


                                        DECLARATION

        1.      My name is _____________________. I am over the age of eighteen (18) years.

The facts stated in this declaration are based on my personal knowledge and my review of records,

and are true and correct.

        2.      I am the _________________________________ [insert job title/position] for

_____________________ [insert name of employer]. As part of my job duties, I am familiar with

the record keeping practices of _____________________ [insert name of employer].              The

documents being produced by _____________________ [insert name of employer] were made at

or near the time by – or from information transmitted by – someone with knowledge; were kept in

the course of a regularly conducted activity of the organization; and making the record was a

regular practice of that activity.

        3.      I declare under criminal penalties of the laws of Kenya that the foregoing is true

and correct.

EXECUTED on the _____ day of ______ month, 20___.

                                                     Signature:
                                                     Name: ________________
     Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 10 of 53




  Request for International Judicial Assistance pursuant to the Hague Convention of 18
    March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters

1.     Sender                         The Honorable Carl J. Nichols, Judge of the United
                                      States District Court for the District of Columbia
                                      (Washington, DC)
                                      333 Constitution Avenue N.W.
                                      Washington D.C. 20001
                                      Telephone of Judge’s Chambers: 001 - (202) 354-
                                      3440
                                      Telephone of Judge’s Courtroom Deputy: 001 -
                                      (202) 354-3101

2.     Central Authority of the       Venezuela Central Authority
       Requested State                Ministerio del Poder Popular para Relaciones
                                      Exteriores
                                      Dirección del Servicio Consular Extranjero
                                      Oficina de Relaciones Consulares
                                      (Ministry of People's Power of Foreign Affairs
                                      Directorate of the Foreign Consular Service
                                      Office of Consular Affairs)
                                      Edificio Anexo a la Torre MRE, piso 1
                                      Avenida Urdaneta – Esquina Carmelitas a Puente
                                      Llaguno
                                      Caracas 1010
                                      Venezuela
                                      Tel.: +58 (0) 212-8064449/8020000
                                            Ext. 6701-6704-6707-6708-6709- 6713
                                      Email: relaciones.consulares@mppre.gob.ve
                                      exhortos.rogatorias@mppre.gob.ve


3.     Person to whom the             The Honorable Carl J. Nichols, Judge of the United
       executed request is to be      States District Court for the District of Columbia
       returned                       (Washington, DC)
                                      333 Constitution Avenue N.W.
                                      Washington D.C. 20001
                                      Telephone of Judge’s Chambers: 001 - (202) 354-
                                      3440
                                      Telephone of Judge’s Courtroom Deputy: 001 -
                                      (202) 354-3101




                                                                               Page 1 of 5
     Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 11 of 53




4     Specification of the date by which the requesting authority requires receipt of the
      response to the Letter of Request

         Date:                           30 November 2023

         Reason for urgency:             The exchange of fact evidence in this case closes on
                                         8 December 2023


IN CONFORMITY WITH ARTICLE 3 OF THE CONVENTION, THE UNDERSIGNED
APPLICANT HAS THE HONOUR TO SUBMIT THE FOLLOWING REQUEST

5.    a Requesting judicial              The Honorable Carl J. Nichols, Judge of the United
      authority (article 3, a)           States District Court for the District of Columbia
                                         (Washington, DC)
                                         333 Constitution Avenue N.W.
                                         Washington D.C. 20001

      b To the competent                 Venezuela
      authority of (article 3, a)

      c Name of the case and             Smartmatic USA Corp., Smartmatic International
      identifying number                 Holding B.V., and SGO Corporation Limited versus
                                         Herring Networks, Inc., doing business as One
                                         America News Network (Case Number 1:21-cv-
                                         02900-CJN)

6.    Names and addresses of the parties and
      their representatives (article 3, b)

      a Plaintiffs                       Smartmatic USA Corp., Smartmatic International
                                         Holding B.V., and SGO Corporation Limited
                                         (collectively referred to in this document as
                                         “Plaintiff”)

        Representatives                  Joel Erik Connolly
                                         Benesch, Friedlander, Coplan & Aronoff LLP
                                         71 S. Wacker Drive
                                         Suite 1600
                                         Chicago, IL 60606
                                         001 - 312-212-4949
                                         Email: econnolly@beneschlaw.com

      b Defendant                        Herring Networks, Inc., doing business as One
                                         America News Network



                                                                                     Page 2 of 5
     Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 12 of 53




         Representatives           Charles L. Babcock
                                   Jackson Walker L.L.P.
                                   1401 McKinney
                                   Suite 1900
                                   Houston, TX 77010
                                   001 - 713-752-4210
                                   Email: cbabcock@jw.com

7.    a Nature of the              Civil complaint for defamation
      proceedings (article 3, c)

      b Summary of complaint       Plaintiff contends that Defendant defamed Plaintiff
                                   through a series of television broadcasts occurring
                                   after the U.S. presidential election in 2020. Plaintiff
                                   contends that the Defendant told its audience that
                                   Plaintiff’s voting machines were compromised and
                                   that the reported outcome of the election could not
                                   be trusted. Plaintiff contends that Defendant falsely
                                   accused Plaintiff of “having connections to corrupt
                                   dictators,” including Hugo Chavez, and “of having
                                   previously rigged an election in Venezuela.”
                                   (Complaint at paragraph 98.)

      c Summary of defense         Defendant contends that it is not liable because
                                   statements appearing on the television broadcasts at
                                   issue: were not defamatory; were protected by the
                                   First Amendment to the U.S. Constitution;
                                   Defendant did not make any statements with actual
                                   malice; the statements were true or substantially
                                   true; and Plaintiff did not suffer any damage as a
                                   result of any statements made by Defendant.

8.    a Evidence to be             1. Minutes or notes of meetings between
      obtained or other judicial   representatives of the Venezuelan government
      act to be performed          (including Hugo Chavez) and representatives of
                                   Plaintiff, including Antonio Mugica (also known as
                                   Antonio Mugica Rivero).
                                   2. Check or payment records showing payment from
                                   Sociedad de Capital de Riesgo to Bizta Corp. in
                                   June of 2003 in exchange for a 28% ownership in
                                   Bizta Corp., and the document showing the 28%
                                   ownership.
                                   3. Check or payment records from Bizta Corp.
                                   reflecting payments made to Venezuelan
                                   governmental officials or former officials.



                                                                                Page 3 of 5
      Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 13 of 53




                                     4. Investigative statements or memoranda reflecting
                                     the Venezuelan government’s investigation of
                                     Plaintiff or its representatives in connection with
                                     Plaintiff’s voting system.

       b Purpose of the              The purpose is to identify evidence related to the
       evidence or judicial act      reputation of Plaintiff and the truth or falsity of
       sought                        Plaintiff’s allegation that Plaintiff did not have ties
                                     to Venezuelan government officials and that its
                                     technology is secure.

9.     Any requirement that the      The companies and governmental bodies from
       evidence be given on oath     whom the documents above are sought are requested
       or affirmation and any        to complete the attached declaration verifying the
       special form to be used       authenticity of the documents produced. If this is
       (article 3, h)                not acceptable, they are requested to provide a
                                     certification that the documents are true and correct.

10.    The fees and costs            Defendant Herring Networks, Inc., doing business as
       incurred which are            One America News Network
       reimbursable under the
       second paragraph of
       article 14 or under article
       26 of the Convention will
       be borne by

       DATE OF REQUEST:

       SIGNATURE AND
       SEAL OF THE
       REQUESTING
       AUTHORITY:




SEE ATTACHED DECLARATION TO BE COMPLETED WHEN PROVIDING
DOCUMENTS




                                                                                   Page 4 of 5
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 14 of 53




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                    No. 1:21-cv-02900-CJN
                    Plaintiffs,
        v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                    Defendant.


                                       DECLARATION

        1.      My name is _____________________. I am over the age of eighteen (18) years.

The facts stated in this declaration are based on my personal knowledge and my review of records,

and are true and correct.

        2.      I am the _________________________________ [insert job title/position] for

_____________________ [insert name of employer]. As part of my job duties, I am familiar with

the record keeping practices of _____________________ [insert name of employer].             The

documents being produced by _____________________ [insert name of employer] were made at

or near the time by – or from information transmitted by – someone with knowledge; were kept in

the course of a regularly conducted activity of the organization; and making the record was a

regular practice of that activity.

        3.      I declare under criminal penalties of the laws of Venezuela that the foregoing is

true and correct.

EXECUTED on the _____ day of ______ month, 20___.

                                                    Signature:
                                                    Name: ________________

                                                                                     Page 5 of 5
        Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 15 of 53

                                              Houston: 2020 Montrose Blvd. #202, Houston, TX 77006
                                              Ph: (713) 589 - 3112

                                              Dallas: 5025 Addison Cir., Addison, TX 75063
                                              Ph:(214) 550-0151



                   Certification of Translation Accuracy

                      ENGLISH TO SPANISH
       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
       COLUMBIA – REQUEST FOR INTERNATIONAL JUDICIAL
                         ASSISTANCE

As 24 Hour Translation Services, an independent professional translation
service agency, we hereby confirm that the attached document has been
translated by a sworn professional translator, who is qualified, competent, and
proficient in the aforementioned language pair and that this translation is
complete, true, accurate and faithful in the content, context, and style of the
original document in all respects.

This certificate only attests the accuracy of the translation. We do not vouch for
the authenticity of the original or the veracity of the statements in the original
document. Furthermore, 24 Hour Translation Services takes no responsibility
for the application of the translation by the client or any third party, including the
end-users of the translation.

A copy of the translated document is attached to this certification.

SWORN BEFORE ME at the
City of Addison, in the
State of Texas in the country
of the United States of America
this 11th day of September
2023




  NOTARY PUBLIC                        LANGUAGE SERVICES REPRESENTATIVE
        Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 16 of 53

                                              Houston: 2020 Montrose Blvd. #202, Houston, TX 77006
                                              Ph: (713) 589 - 3112

                                              Dallas: 5025 Addison Cir., Addison, TX 75063
                                              Ph:(214) 550-0151



                  Certification of Translation Accuracy

                    INGLÉS A ESPAÑOL
   TRIBUNAL DE LOS ESTADOS UNIDOS PARA EL DISTRITO DE
COLUMBIA – SOLICITUD DE ASISTENCIA JUDICIAL INTERNACIONAL

24 Hour Translation Services, una agencia independiente de servicios de
traducción profesional, confirma por la presente que el documento adjunto ha
sido traducido por un traductor profesional jurado, cualificado, competente y con
dominio del par de idiomas mencionados y que esta traducción es completa,
verdadera, exacta y fiel en el contenido, contexto y estilo del documento original
en todos los aspectos.

Este certificado sólo da fe de la exactitud de la traducción. No respondemos ni
por la autenticidad del original ni por la veracidad de la información contenida en
el documento original. Además, 24 Hour Translation Services no se hace
responsable por el uso de la traducción por parte del cliente o de terceros,
incluidos los usuarios finales de la traducción.

Una copia del documento traducido se anexa a este certificado.

JURADO ANTE MI en la
Ciudad de Addison, en el
Estado de Texas en el país de
los Estados Unidos de América
el 11 de septiembre de 2023




  NOTARY PUBLIC                        REPRESENTANTE DE SERVICIOS DE IDIOMAS
      Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 17 of 53




Solicitud de Asistencia Judicial Internacional de conformidad con el Convenio de La Haya
del 18 de Marzo de 1970 sobre la Obtención de Pruebas en el Extranjero en Materia Civil o
                                         Mercantil

1.     Remitente                          Su Señoría Carl J. Nichols, Juez del Tribunal de los
                                          Estados Unidos para el Distrito de Columbia
                                          (Washington, DC)
                                          333 Constitution Avenue N.W.
                                          Washington D.C. 20001
                                          Teléfono de la Sala de Jueces: 001 - (202) 354-3440
                                          Teléfono del Asistente de la Sala del Juez: 001 -
                                          (202) 354-3101

2.     Autoridad Central del              Autoridad Central de Venezuela
       Estado Requerido                   Ministerio del Poder Popular para Relaciones
                                          Exteriores
                                          Dirección del Servicio Consular Extranjero
                                          Oficina de Relaciones Consulares
                                          Edificio Anexo a la Torre MRE, piso 1
                                          Avenida Urdaneta – Esquina Carmelitas a Puente
                                          Llaguno
                                          Caracas 1010
                                          Venezuela
                                          Tel.: +58 (0) 212-8064449/8020000
                                                Ext. 6701-6704-6707-6708-6709- 6713
                                          Correo: relaciones.consulares@mppre.gob.ve
                                          exhortos.rogatorias@mppre.gob.ve


3.     Persona a la que debe              Su Señoría Carl J. Nichols, Juez del Tribunal de los
       devolverse la solicitud            Estados Unidos para el Distrito de Columbia
       ejecutada                          (Washington, DC)
                                          333 Constitution Avenue N.W.
                                          Washington D.C. 20001
                                          Teléfono de la Sala de Jueces: 001 - (202) 354-3440
                                          Teléfono del Asistente de la Sala del Juez: 001 -
                                          (202) 354-3101




4      Especificación de la fecha en la que la autoridad requirente exige la recepción de la
       respuesta a la Carta de Solicitud

          Fecha:                          30 de noviembre de 2023

                                                                                   Página 1 de 6
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         Motivo de urgencia:           El intercambio de pruebas de hecho en este caso se
                                       cierra el 8 de diciembre de 2023


DE CONFORMIDAD CON EL ARTÍCULO 3 DEL CONVENIO, EL ABAJO FIRMANTE
TIENE EL HONOR DE PRESENTAR LA SIGUIENTE SOLICITUD

5.    a Autoridad judicial             Su Señoría Carl J. Nichols, Juez del Tribunal de los
      requirente (artículo 3, a)       Estados Unidos para el Distrito de Columbia
                                       (Washington, DC)
                                       333 Constitution Avenue N.W.
                                       Washington D.C. 20001

      b A la autoridad                 Venezuela
      competente de (artículo 3,
      a)

      c Nombre del caso y              Smartmatic USA Corp., Smartmatic International
      número de identificación         Holding B.V., y SGO Corporation Limited contra
                                       Herring Networks, Inc. operando como One
                                       America News Network (Caso número 1:21-cv-
                                       02900-CJN)

6.    Nombres y direcciones de las partes y
      sus representantes (artículo 3, b)

      a Demandantes                    Smartmatic USA Corp., Smartmatic International
                                       Holding B. V. y SGO Corporation Limited
                                       (denominados colectivamente en este documento
                                       como "Demandante")

        Representantes                 Joel Erik Connolly
                                       Benesch, Friedlander, Coplan & Aronoff LLP
                                       71 S. Wacker Drive
                                       Suite 1600
                                       Chicago, IL 60606
                                       001 - 312-212-4949
                                       Correo: econnolly@beneschlaw.com

      b Demandado                      Herring Networks, Inc., operando como One
                                       America News Network

         Representantes                Charles L. Babcock
                                       Jackson Walker L.L.P.
                                       1401 McKinney

                                                                                Página 2 de 6
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                                      Suite 1900
                                      Houston, TX 77010
                                      001 - 713-752-4210
                                      Correo: cbabcock@jw.com

7.    a Naturaleza del                Demanda civil por difamación
      procedimiento (artículo 3,
      c)

      b Resumen de la                 El Demandante sostiene que el Demandado difamó
      demanda                         al Demandante a través de una serie de emisiones de
                                      televisión que tuvieron lugar después de las
                                      elecciones presidenciales de los Estados Unidos en
                                      el año 2020. El Demandante sostiene que el
                                      Demandado le dijo a su audiencia que las máquinas
                                      de votación del Demandante habían sido
                                      manipuladas y que no se podía confiar en el
                                      resultado de las elecciones. El Demandante sostiene
                                      que el Demandado acusó falsamente al Demandante
                                      de "tener conexiones con dictadores corruptos",
                                      incluido Hugo Chávez, y "de haber amañado
                                      previamente unas elecciones en Venezuela".
                                      (Demanda en el párrafo 98.)

      c Resumen de defensa            El Demandado sostiene que no es responsable
                                      porque las declaraciones que aparecen en las
                                      emisiones de televisión en cuestión: no eran
                                      difamatorias; estaban protegidas por la Primera
                                      Enmienda de la Constitución de los EE.UU.; el
                                      Demandado no hizo ninguna declaración con
                                      malicia real; las declaraciones eran verdaderas o
                                      sustancialmente verdaderas; y el Demandante no
                                      sufrió ningún daño como resultado de ninguna de las
                                      declaraciones hechas por el Demandado.

8.    a Pruebas a obtener u           1. Actas o notas de reuniones entre representantes
      otro acto judicial a realizar   del gobierno venezolano (incluido Hugo Chávez) y
                                      representantes de la parte Demandante, incluido
                                      Antonio Mugica (también conocido como Antonio
                                      Mugica Rivero).
                                      2. Registros de cheques o pagos que demuestren el
                                      pago de la Sociedad de Capital de Riesgo a Bizta
                                      Corp. en junio de 2003 a cambio de una
                                      participación del 28% en Bizta Corp. y el
                                      documento que demuestre la participación del 28%.



                                                                             Página 3 de 6
      Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 20 of 53




                                    3. Registros de cheques o pagos de Bizta Corp. que
                                    reflejen pagos efectuados a funcionarios o ex
                                    funcionarios del gobierno venezolano.
                                    4. Declaraciones o memorandos de investigación
                                    que reflejen la investigación del gobierno
                                    venezolano sobre el Demandante o sus
                                    representantes en relación con el sistema de votación
                                    del Demandante.

       b Finalidad de la prueba     El propósito es identificar pruebas relacionadas con
       o acto judicial solicitado   la reputación del Demandante y la veracidad o
                                    falsedad de la alegación del Demandante de que no
                                    tenía vínculos con funcionarios del gobierno
                                    venezolano y de que su tecnología es segura.

9.     Cualquier requisito de que   Se ruega a las empresas y organismos
       la prueba se preste bajo     gubernamentales a los que se solicitan los
       juramento o promesa y        documentos arriba mencionados que cumplimenten
       cualquier forma especial     la declaración adjunta en la que se verifica la
       que deba utilizarse          autenticidad de los documentos presentados. Si esto
       (artículo 3, h)              no es aceptable, se les pide que presenten una
                                    certificación de que los documentos son verdaderos
                                    y correctos.

10.    Los honorarios y gastos      a cargo del demandado Herring Networks, Inc.,
       incurridos que sean          operando como One America News Network.
       reembolsables en virtud
       del segundo párrafo del
       artículo 14 o del artículo
       26 del Convenio correrán

       FECHA DE LA
       SOLICITUD:

       FIRMA Y SELLO DE LA
       AUTORIDAD
       REQUIRENTE:




VÉASE LA DECLARACIÓN ADJUNTA QUE DEBE CUMPLIMENTARSE AL
PRESENTAR LOS DOCUMENTOS

                                                                            Página 4 de 6
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                        EN EL TRIBUNAL DE LOS ESTADOS UNIDOS
                            PARA EL DISTRITO DE COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., Y
SGO CORPORATION LIMITED,
                                                     No. 1:21-cv-02900-CJN
                    Demandantes,
        contra

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                    Demandado.


                                            DECLARACIÓN

        1.       Mi nombre es _____________________. Soy mayor de dieciocho (18) años. Los

hechos expuestos en esta declaración se basan en mi conocimiento personal y en mi revisión de

los registros, y son ciertos y correctos.

        2.       Soy _________________________________ [inserte el cargo/puesto de trabajo]

para _____________________ [inserte el nombre del empleador]. Como parte de mis funciones

laborales, estoy familiarizado con las prácticas de mantenimiento de los registros de

_____________________ [inserte el nombre del empleador]. Los documentos que presenta

_____________________ [inserte el nombre del empleador] fueron elaborados en el momento o

cerca del momento por -o a partir de información transmitida por- alguien con conocimiento de

causa; se conservaron en el curso de una actividad realizada regularmente por la organización; y

la elaboración del registro era una práctica habitual de dicha actividad.

        3.       Declaro bajo penas criminales de las leyes de Venezuela que lo anterior es

                                                                                  Página 5 de 6
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verdadero y correcto.

EJECUTADO el día _____ del mes de ______ de 20___.

                                             Firma:
                                             Nombre: ________________




                                                                        Página 6 de 6
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    Request for International Judicial Assistance pursuant to the Hague Convention of 18
      March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters

1.       Sender                             The Honorable Carl J. Nichols, Judge of the United
                                            States District Court for the District of Columbia
                                            (Washington, DC)
                                            333 Constitution Avenue N.W.
                                            Washington D.C. 20001
                                            Telephone of Judge’s Chambers: 001 - (202) 354-
                                            3440
                                            Telephone of Judge’s Courtroom Deputy: 001 -
                                            (202) 354-3101

2.       Central Authority of the           National Secretariat of Justice
         Requested State                    Ministry of Justice and Public Security
                                            Esplanada dos Ministérios, Anexo II, Sala 322
                                            Cep: 70064-900
                                            Brasília – DF, Brasil
                                            Brazil
                                            Tel: +55 61 2025 8900
                                            Fax: +55 61 2025 9395
                                            Email: cooperacaocivil@mj.gov.br


3.       Person to whom the                 The Honorable Carl J. Nichols, Judge of the United
         executed request is to be          States District Court for the District of Columbia
         returned                           (Washington, DC)
                                            333 Constitution Avenue N.W.
                                            Washington D.C. 20001
                                            Telephone of Judge’s Chambers: 001 - (202) 354-
                                            3440
                                            Telephone of Judge’s Courtroom Deputy: 001 -
                                            (202) 354-3101

4        Specification of the date by which the requesting authority requires receipt of the
         response to the Letter of Request

            Date:                           30 November 2023

            Reason for urgency:             The exchange of fact evidence in this case closes on
                                            8 December 2023


IN CONFORMITY WITH ARTICLE 3 OF THE CONVENTION, THE UNDERSIGNED
APPLICANT HAS THE HONOUR TO SUBMIT THE FOLLOWING REQUEST



                                                                                        Page 1 of 5
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5.    a Requesting judicial            The Honorable Carl J. Nichols, Judge of the United
      authority (article 3, a)         States District Court for the District of Columbia
                                       (Washington, DC)
                                       333 Constitution Avenue N.W.
                                       Washington D.C. 20001

      b To the competent               Venezuela
      authority of (article 3, a)

      c Name of the case and           Smartmatic USA Corp., Smartmatic International
      identifying number               Holding B.V., and SGO Corporation Limited versus
                                       Herring Networks, Inc., doing business as One
                                       America News Network (Case Number 1:21-cv-
                                       02900-CJN)

6.    Names and addresses of the parties and
      their representatives (article 3, b)

      a Plaintiffs                     Smartmatic USA Corp., Smartmatic International
                                       Holding B.V., and SGO Corporation Limited
                                       (collectively referred to in this document as
                                       “Plaintiff”)

        Representatives                Joel Erik Connolly
                                       Benesch, Friedlander, Coplan & Aronoff LLP
                                       71 S. Wacker Drive
                                       Suite 1600
                                       Chicago, IL 60606
                                       001 - 312-212-4949
                                       Email: econnolly@beneschlaw.com

      b Defendant                      Herring Networks, Inc., doing business as One
                                       America News Network

         Representatives               Charles L. Babcock
                                       Jackson Walker L.L.P.
                                       1401 McKinney
                                       Suite 1900
                                       Houston, TX 77010
                                       001 - 713-752-4210
                                       Email: cbabcock@jw.com

7.    a Nature of the                  Civil complaint for defamation
      proceedings (article 3, c)




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       b Summary of complaint       Plaintiff contends that Defendant defamed Plaintiff
                                    through a series of television broadcasts occurring
                                    after the U.S. presidential election in 2020. Plaintiff
                                    contends that the Defendant told its audience that
                                    Plaintiff’s voting machines were compromised and
                                    that the reported outcome of the election could not
                                    be trusted. Plaintiff contends that Defendant falsely
                                    accused Plaintiff of “having connections to corrupt
                                    dictators,” including Hugo Chavez, and “of having
                                    previously rigged an election in Venezuela.”

       c Summary of defense         Defendant contends that it is not liable because
                                    statements appearing on the television broadcasts at
                                    issue: were not defamatory; were protected by the
                                    First Amendment to the U.S. Constitution;
                                    Defendant did not make any statements with actual
                                    malice; the statements were true or substantially
                                    true; and Plaintiff did not suffer any damage as a
                                    result of any statements made by Defendant.

8.     a Evidence to be             1. Plaintiff’s proposal submitted to the Tribunal
       obtained or other judicial   Superoir Eleitoral (hereinafter referred to as “TSE”)
       act to be performed          regarding the TSE 2019-2020 bidding process
                                    (Bidding Notice No. 43/2019) for the manufacture
                                    of new electronic voting machines, and documents
                                    reflecting the decision regarding Plaintiff’s proposal.
                                    2. Documents, if any, indicating that TSE
                                    considered any statement appearing on Defendant’s
                                    television broadcast in deciding whether to award or
                                    not award a contract to Plaintiff.

       b Purpose of the             The purpose is to identify evidence related to the
       evidence or judicial act     reputation of Plaintiff and the truth or falsity of
       sought                       Plaintiff’s allegation that Plaintiff has been harmed
                                    by statements made on Defendant’s television
                                    broadcasts.

12.    Any requirement that the     The entity from whom the documents above are
       evidence be given on oath    sought are requested to complete the attached
       or affirmation and any       declaration verifying the authenticity of the
       special form to be used      documents produced. If this is not acceptable, they
       (article 3, h)               are requested to provide a certification that the
                                    documents are true and correct.

13.    The fees and costs           Defendant Herring Networks, Inc., doing business as
       incurred which are           One America News Network

                                                                                 Page 3 of 5
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     reimbursable under the
     second paragraph of
     article 14 or under article
     26 of the Convention will
     be borne by

     DATE OF REQUEST:

     SIGNATURE AND
     SEAL OF THE
     REQUESTING
     AUTHORITY:




SEE ATTACHED DECLARATION TO BE COMPLETED WHEN PROVIDING
DOCUMENTS




                                                                 Page 4 of 5
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                       No. 1:21-cv-02900-CJN
                    Plaintiffs,
        v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                    Defendant.


                                         DECLARATION

        1.      My name is _____________________. I am over the age of eighteen (18) years.

The facts stated in this declaration are based on my personal knowledge and my review of records,

and are true and correct.

        2.      I am the _________________________________ [insert job title/position] for

_____________________ [insert name of employer]. As part of my job duties, I am familiar with

the record keeping practices of _____________________ [insert name of employer].                  The

documents being produced by _____________________ [insert name of employer] were made at

or near the time by – or from information transmitted by – someone with knowledge; were kept in

the course of a regularly conducted activity of the organization; and making the record was a

regular practice of that activity.

        3.      I declare under criminal penalties of the laws of Brazil that the foregoing is true and

correct.

EXECUTED on the _____ day of ______ month, 20___.

                                                       Signature:
                                                       Name: ________________

                                                                                           Page 5 of 5
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                                             Houston: 2020 Montrose Blvd. #202, Houston, TX 77006
                                             Ph: (713) 589 - 3112

                                             Dallas: 5025 Addison Cir., Addison, TX 75063
                                             Ph:(214) 550-0151




                   Certification of Translation Accuracy

                     ENGLISH TO PORTUGUESE
 Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO
           Corporation Limited versus Herring Networks, Inc


As 24 Hour Translation Services, an independent professional translation
service agency, we hereby confirm that the attached document has been
translated by a sworn professional translator, who is qualified, competent, and
proficient in the aforementioned language pair and that this translation is
complete, true, accurate and faithful in the content, context, and style of the
original document in all respects.

This certificate only attests the accuracy of the translation. We do not vouch for
the authenticity of the original or the veracity of the statements in the
original document. Furthermore, 24 Hour Translation Services takes no
responsibility for the application of the translation by the client or
any third party, including the end-users of the translation.

A copy of the translated document is attached to this certification.

SWORN BEFORE ME at the )
City of Addison, in the         )
State of Texas in the country )
of the United States of America )
this September 11, 2023        )




NOTARY PUBLIC                           LANGUAGE SERVICES REPRESENTATIVE
     Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 29 of 53




 Pedido de Assistência Judicial Internacional nos termos da Convenção de Haia de 18 de
março de 1970 sobre a Obtenção de Provas no Estrangeiro em Matéria Civil ou Comercial

1.     Remetente                          O Honorável Carl J. Nichols, Juiz do Tribunal
                                          Distrital dos Estados Unidos para o Distrito de
                                          Columbia (Washington, DC)
                                          333 Constitution Avenue N.W.
                                          Washington D.C. 20001
                                          Telefone da sala do juiz: 001 - (202) 354-3440
                                          Telefone do assistente da sala de audiências do juiz:
                                          001 - (202) 354-3101

2.     Autoridade Central do              Secretaria Nacional de Justiça
       Estado Solicitado                  Ministério da Justiça e Segurança Pública
                                          Esplanada dos Ministérios, Anexo II, Sala 322
                                          Cep: 70064-900
                                          Brasília – DF, Brasil
                                          Brasil
                                          Tel: +55 61 2025 8900
                                          Fax: +55 61 2025 9395
                                          E-mail: cooperacaocivil@mj.gov.br


3.     Pessoa a quem a                    O Honorável Carl J. Nichols, Juiz do Tribunal
       solicitação executada deve         Distrital dos Estados Unidos para o Distrito de
       ser devolvida                      Columbia (Washington, DC)
                                          333 Constitution Avenue N.W.
                                          Washington D.C. 20001
                                          Telefone da sala do juiz: 001 - (202) 354-3440
                                          Telefone do assistente da sala de audiências do juiz:
                                          001 - (202) 354-3101

4.     Especificação da data na qual a autoridade solicitante solicita o recebimento da
       resposta à Carta de Solicitação

          Data:                           30 de novembro de 2023

          Motivo da urgência:             A troca de provas de fatos neste caso se encerra em
                                          8 de dezembro de 2023


EM CONFORMIDADE COM O ARTIGO 3 DA CONVENÇÃO, O REQUERENTE
ABAIXO ASSINADO TEM A HONRA DE APRESENTAR A SEGUINTE SOLICITAÇÃO




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5.   a Autoridade judicial               O Honorável Carl J. Nichols, Juiz do Tribunal
     solicitante (artigo 3, a)           Distrital dos Estados Unidos para o Distrito de
                                         Columbia (Washington, DC)
                                         333 Constitution Avenue N.W.
                                         Washington D.C. 20001

     b Para a autoridade                 Venezuela
     competente de (artigo 3,
     a)

     c Nome do caso e número             Smartmatic USA Corp., Smartmatic International
     de identificação                    Holding B.V., e SGO Corporation Limited contra
                                         Herring Networks, Inc., fazendo negócios como One
                                         America News Network (Caso Número 1:21-cv-
                                         02900-CJN)

6.   Nomes e endereços das partes e
     seus representantes (artigo 3, b)

     a Autores                           Smartmatic USA Corp., Smartmatic International
                                         Holding B.V., e SGO Corporation Limited
                                         (coletivamente referidas neste documento como
                                         "Autor")

       Representantes                    Joel Erik Connolly
                                         Benesch, Friedlander, Coplan & Aronoff LLP
                                         71 S. Wacker Drive
                                         Suite 1600
                                         Chicago, IL 60606
                                         001 - 312-212-4949
                                         E-mail: econnolly@beneschlaw.com

     b Réu                               Herring Networks, Inc., fazendo negócios como One
                                         America News Network

        Representantes                   Charles L. Babcock
                                         Jackson Walker L.L.P.
                                         1401 McKinney
                                         Suite 1900
                                         Houston, TX 77010
                                         001 - 713-752-4210
                                         E-mail: cbabcock@jw.com

7.   a Natureza dos                      Queixa civil por difamação
     procedimentos (artigo 3,
     c)

                                                                                  Página 2 de 5
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      b Resumo da queixa          O Autor alega que o Réu difamou o Autor por meio
                                  de uma série de transmissões de televisão que
                                  ocorreram após a eleição presidencial dos E.U.A.
                                  em 2020. O Autor alega que o Réu disse ao seu
                                  público que as urnas eletrônica do Autor estavam
                                  comprometidas e que o resultado relatado da eleição
                                  não era confiável. O Autor alega que o Réu acusou
                                  falsamente o Autor de "ter conexões com ditadores
                                  corruptos", incluindo Hugo Chávez, e "de ter
                                  fraudado anteriormente uma eleição na Venezuela".

      c Resumo da defesa          O Réu alega que não é responsável porque as
                                  declarações que aparecem nas transmissões de
                                  televisão em questão: não eram difamatórias; eram
                                  protegidas pela Primeira Emenda da Constituição
                                  dos Estados Unidos; o Réu não fez nenhuma
                                  declaração com malícia real; as declarações eram
                                  verdadeiras ou substancialmente verdadeiras; e o
                                  Autor não sofreu nenhum dano como resultado de
                                  quaisquer declarações feita pelo Réu.

8.    a Prova a ser obtida ou     1. A proposta do Autor enviada ao Tribunal Superior
      outro ato judicial a ser    Eleitoral (doravante denominado "TSE") em relação
      executado                   ao processo de licitação 2019-2020 do TSE (Edital
                                  de Licitação N.º 43/2019) para a fabricação de novas
                                  urnas eletrônicas e documentos que refletem a
                                  decisão sobre a proposta do Autor.
                                  2. Documentos, se houver, indicando que o TSE
                                  considerou qualquer declaração exibida na
                                  transmissão de televisão do Réu ao decidir se
                                  concederia ou não um contrato ao Autor.

      b Objetivo pretendido da    O objetivo é identificar provas relacionadas à
      prova ou do ato judicial    reputação do Autor e a verdade ou falsidade da
                                  alegação do Autor de que o Autor foi prejudicado
                                  por declarações feitas nas transmissões de televisão
                                  do Réu.

12.   Qualquer exigência de que   Solicita-se à entidade na qual são solicitados os
      a prova seja feita sob      documentos acima preencha a declaração anexa,
      juramento ou afirmação e    verificando a autenticidade dos documentos
      qualquer forma especial a   apresentados. Se isso não for aceitável, será
      ser usada (artigo 3, h)     solicitado a fornecer uma certificação de que os
                                  documentos são verdadeiros e corretos.


                                                                           Página 3 de 5
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13.   As taxas e os custos        O réu Herring Networks, Inc., fazendo negócios
      incorridos que são          como One America News Network
      reembolsáveis de acordo
      com o segundo parágrafo
      do artigo 14 ou com o
      artigo 26 da Convenção
      serão arcados por

      DATA DA
      SOLICITAÇÃO:

      ASSINATURA E SELO
      DA AUTORIDADE
      SOLICITANTE:




VEJA A DECLARAÇÃO ANEXA A SER PREENCHIDA AO FORNECER OS
DOCUMENTOS




                                                                        Página 4 de 5
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                     NO TRIBUNAL DISTRITAL DOS ESTADOS UNIDOS
                            PARA O DISTRITO DE COLUMBIA

SMARTMATIC USA CORP,
SMARTMATIC HOLDING B.V., E
SGO CORPORATION LIMITED,
                                                       N.º 1:21-cv-02900-CJN
                   Requerentes,
       v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                   Réu.

                                           DECLARAÇÃO

       1.      Meu nome é _____________________. Tenho mais de dezoito (18) anos de idade.

Os fatos declarados nesta declaração são baseados em meu conhecimento pessoal e em minha

análise dos registros, e são verdadeiros e corretos.

       2.      Sou      o   _________________________________        [inserir   cargo/função]   da

_____________________ [inserir nome do empregador]. Como parte de minhas obrigações

profissionais, estou familiarizado com as práticas de manutenção de registros do

_____________________ [inserir nome do empregador].             Os documentos apresentados por

_____________________ [insira o nome do empregador] foram feitos no momento ou próximo

ao momento por – ou a partir de informações transmitidas por – alguém com conhecimento; foram

mantidos no curso de uma atividade regularmente conduzida pela organização; e fazer o registro

foi uma prática regular dessa atividade.

       3.      Declaro, sob as penalidades criminais das leis do Brasil, que o acima exposto é

verdadeiro e correto.

EXECUTADO no dia _____ do mês de ______ de 20___.
                                            Assinatura:
                                            Nome: ________________

                                                                                    Página 5 de 5
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                                The Honorable Carl J. Nichols
    Judge of the United States District Court for the District of Columbia (Washington, DC)
                                333 Constitution Avenue N.W.
                                    Washington D.C. 20001
                    Telephone of Judge’s Chambers: 001 - (202) 354-3440
                Telephone of Judge’s Courtroom Deputy: 001 - (202) 354-3101


Dear Honorable Courts of Oman:

         The undersigned requests your assistance in obtaining evidence that is located in Oman for
use in connection with a civil lawsuit that is currently pending in the United States District Court
for the District of Columbia. Information regarding the requested evidence and the matter to which
it relates is as follows:

      Name of the U.S.              Smartmatic USA Corp., Smartmatic International
      case                          Holding B.V., and SGO Corporation Limited versus
                                    Herring Networks, Inc., doing business as One
                                    America News Network (Case Number 1:21-cv-
                                    02900-CJN)

      Court, Judge, and             United States District Court for the District of
      Case Number                   Columbia, Judge Nichols presiding (Case Number
                                    1:21-cv-02900-CJN)


      Names and addresses of the parties and
      their representatives (article 3, b)

      a Plaintiffs                  Smartmatic USA Corp., Smartmatic International
                                    Holding B.V., and SGO Corporation Limited
                                    (collectively referred to in this document as
                                    “Plaintiff”)

          Representatives           Joel Erik Connolly
                                    Benesch, Friedlander, Coplan & Aronoff LLP
                                    71 S. Wacker Drive
                                    Suite 1600
                                    Chicago, IL 60606
                                    001 - 312-212-4949
                                    Email: econnolly@beneschlaw.com

      b Defendant                   Herring Networks, Inc., doing business as One
                                    America News Network
Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 35 of 53




  Representatives     Charles L. Babcock
                      Jackson Walker L.L.P.
                      1401 McKinney
                      Suite 1900
                      Houston, TX 77010
                      001 - 713-752-4210
                      Email: cbabcock@jw.com

Summary of            Plaintiff contends that Defendant defamed Plaintiff
complaint             through a series of television broadcasts occurring
                      after the U.S. presidential election in 2020. Plaintiff
                      contends that the Defendant told its audience that
                      Plaintiff’s voting machines were compromised and
                      that the reported outcome of the election could not
                      be trusted. Plaintiff contends that Defendant falsely
                      accused Plaintiff of “having connections to corrupt
                      dictators,” including Hugo Chavez, and “of having
                      previously rigged an election in Venezuela.”
                      Plaintiff contends that Defendant’s statements have
                      harmed Plaintiff’s reputation on an international
                      scale.

Summary of defense    Defendant contends that it is not liable because
                      statements appearing on the television broadcasts at
                      issue: were not defamatory; were protected by the
                      First Amendment to the U.S. Constitution;
                      Defendant did not make any statements with actual
                      malice; the statements were true or substantially
                      true; Plaintiff did not suffer any damage as a result
                      of any statements made by Defendant; and any
                      reputational harm that Plaintiff has suffered has been
                      due to its own conduct in various jurisdictions,
                      including Oman, not Defendant’s statements.

Documents             The undersigned requests that you ask the
requested to be       Ministry of Interior and Industrial
obtained from Oman    Management Technology & Contracting for
                      documents and communications regarding
                      Smartmatic software, machines, voting or
                      election technology, or support services used
                      during the 2016 Oman Municipal Election
                      and errors that occurred in connection with
                      the election relating to the voting system
                      software and equipment. This includes
                      documents and communications on, before,
                      or after election day regarding any issues
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 36 of 53




                                   with Smartmatic’s voting technology,
                                   Smartmatic removing any equipment or
                                   personnel from the country, any
                                   investigation or review of the results of the
                                   2016 election, or other voting machine
                                   problems relating to the 2016 Oman
                                   elections.

        Additionally, the undersigned requests that, in connection with providing the requested
documents, an appropriate individual from the organization producing the documents complete
and execute the attached declaration. If this is unacceptable, the undersigned requests that a
certification be made that the documents that are produced are true and correct copies of the
originals.

        Additionally, the undersigned requests that the requested foregoing documents be collected
and provided to the undersigned by 30 November 2023. The reason for this is that the exchange
of fact evidence in this case closes on 8 December 2023.

       If you have any questions about this request, please do not hesitate to reach out to the
undersigned at its telephone number or address listed above.

                                             Sincerely,



                                             The Honorable Carl J. Nichols
                                             U.S. District Court for the District of Columbia
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 37 of 53




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                      No. 1:21-cv-02900-CJN
                    Plaintiffs,
        v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                    Defendant.


                                         DECLARATION

        1.      My name is _____________________. I am over the age of eighteen (18) years.

The facts stated in this declaration are based on my personal knowledge and my review of records,

and are true and correct.

        2.      I am the _________________________________ [insert job title/position] for

_____________________ [insert name of employer]. As part of my job duties, I am familiar with

the record keeping practices of _____________________ [insert name of employer].                The

documents being produced by _____________________ [insert name of employer] were made at

or near the time by – or from information transmitted by – someone with knowledge; were kept in

the course of a regularly conducted activity of the organization; and making the record was a

regular practice of that activity.

        3.      I declare under criminal penalties of the laws of Oman that the foregoing is true and

correct.

EXECUTED on the _____ day of ______ month, 20___.

                                                      Signature:
                                                      Name: ________________
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 38 of 53
                                          Houston: 2020 Montrose Blvd. #202, Houston, TX 77006
                                          Ph: (713) 589 - 3112

                                          Dallas: 5025 Addison Cir., Addison, TX
                                          75063 Ph:(214) 550-0151



             Certification of Translation Accuracy
                         ENGLISH TO ARABIC
As 24 Hour Translation Services, an independent professional
translation service agency, we hereby confirm that the attached
document has been translated by a sworn professional translator, who
is qualified, competent, and proficient in the aforementioned language
pair and that this translation is complete, true, accurate and faithful in
the content, context, and style of the original document in all respects.

This certificate only attests the accuracy of the translation. We do not
vouch for the authenticity of the original or the veracity of the
statements in the original document. Furthermore, 24 Hour
Translation Services takes no responsibility for the application of the
translation by the client or any third party, including the end-users of
the translation.

A copy of the translated document is attached to this certification.

SWORN BEFORE ME at the          )
City of Addison, in the         )
State of Texas in the country )
of the United States of America )
this 12th day of September 2023)




     NOTARY PUBLIC                   LANGUAGE SERVICES REPRESENTATIVE
          ‫‪Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 39 of 53‬‬
                                                 ‫‪Houston: 2020 Montrose Blvd. #202, Houston, TX 77006‬‬
                                                 ‫‪Ph: (713) 589 - 3112‬‬

                                                 ‫‪Dallas: 5025 Addison Cir., Addison, TX‬‬
                                                 ‫‪75063 Ph:(214) 550-0151‬‬



                                ‫ﺷﮭﺎدة ﺻﺣﺔ ﺗرﺟﻣﺔ‬
                               ‫ﻣن اﻹﻧﺟﻠﯾزﯾﺔ إﻟﻰ اﻟﻌرﺑﯾﺔ‬
  ‫ﺑﺎﻋﺗﺑﺎرھﺎ وﻛﺎﻟﺔ ﻣﺳﺗﻘﻠﺔ ﻟﺗﻘدﯾم ﺧدﻣﺎت اﻟﺗرﺟﻣﺔ اﻻﺣﺗراﻓﯾﺔ‪ ،‬ﻓﺈن ‪24 Hour Translation‬‬
‫‪ Services‬ﺗؤﻛد ﺑﻣوﺟب ھذه اﻟﺷﮭﺎدة أن اﻟوﺛﯾﻘﺔ اﻟﻣرﻓﻘﺔ ﻗد ﺗﻣت ﺗرﺟﻣﺗﮭﺎ ﺑواﺳطﺔ ﻣﺗرﺟم ﻣﺣﻠف‬
‫ﻣﺣﺗرف وﻣؤھل وﻛﻔؤ وﻣﺗﻘن ﻟﻠﻐﺗﯾن اﻟﻣذﻛورﺗﯾن أﻋﻼه وأن ھذه اﻟﺗرﺟﻣﺔ ﻛﺎﻣﻠﺔ وﺻﺣﯾﺣﺔ ودﻗﯾﻘﺔ وﺻﺎدﻗﺔ‬
                             ‫وﻣطﺎﺑﻘﺔ ﻟﻣﺣﺗوى وﺳﯾﺎق وأﺳﻠوب اﻟوﺛﯾﻘﺔ اﻷﺻﻠﯾﺔ ﻣن ﺟﻣﯾﻊ اﻟﻧواﺣﻲ‪.‬‬

‫اﻟﻐرض ﻣن ھذه اﻟﺷﮭﺎدة ھو ﻓﻘط اﻟﺗﺻدﯾﻖ ﻋﻠﻰ ﺻﺣﺔ ودﻗﺔ اﻟﺗرﺟﻣﺔ‪ ،‬وﻻ ﻧﺿﻣن ﺻﺣﺔ اﻟﻧص اﻷﺻﻠﻲ‬
‫أو ﺻﺣﺔ اﻟﺑﯾﺎﻧﺎت اﻟواردة ﻓﻲ اﻟوﺛﯾﻘﺔ اﻷﺻﻠﯾﺔ‪ .‬ﻋﻠ ًﻣﺎ ﺑﺄن وﻛﺎﻟﺔ ‪24 Hour Translation‬‬
‫‪ Services‬ﻻ ﺗﺗﺣﻣل أي ﻣﺳؤوﻟﯾﺔ ﻋن ﺗطﺑﯾﻖ اﻟﺗرﺟﻣﺔ ﻣن ﻗﺑل اﻟﻌﻣﯾل أو أي طرف ﺛﺎﻟث‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك‬
                                                               ‫اﻟﻣﺳﺗﺧدﻣﯾن اﻟﻧﮭﺎﺋﯾﯾن ﻟﻠﺗرﺟﻣﺔ‪.‬‬

                                                            ‫ﻣرﻓﻖ طﯾّﮫ ﻧﺳﺧﺔ ﻣن اﻟوﺛﯾﻘﺔ اﻟﻣﺗرﺟﻣﺔ‪.‬‬

                                                                   ‫(‬            ‫ﺗﻢ اﻟﻘﺳم أﻣﺎﻣﻲ ﻓﻲ‬
                                                                   ‫(‬            ‫ﻣدﯾﻧﺔ أدﯾﺳون‪ ،‬ﻓﻲ‬
                                                                   ‫(‬            ‫وﻻﯾﺔ ﺗﻛﺳﺎس‪ ،‬ﻓﻲ‬
                                                                   ‫(‬     ‫اﻟوﻻﯾﺎت اﻟﻣﺗﺣدة اﻷﻣرﯾﻛﯾﺔ‬
                                                                   ‫(‬     ‫ﺑﺘﺎرﯾﺦ ‪ 12‬ﺳﺒﺘﻤﺒﺮ ‪2023‬‬




          ‫ﻣﻣﺛل ﺧدﻣﺔ اﻟﺗرﺟﻣﺔ‬                                  ‫ﻛﺎﺗب اﻟﻌدل‬
       ‫‪Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 40 of 53‬‬


                       ‫ﺳﻌﺎدة اﻟﻘﺎﺿﻲ ﻛﺎرل ج‪ .‬ﻧﯾﻛوﻟز )‪(Carl J. Nichols‬‬
              ‫ﻗﺎﺿﻲ اﻟﻣﺣﻛﻣﺔ اﻟﺟزﺋﯾﺔ اﻷﻣرﯾﻛﯾﺔ ﻟﻣﻘﺎطﻌﺔ ﻛوﻟوﻣﺑﯾﺎ )واﺷﻧطن اﻟﻌﺎﺻﻣﺔ(‬
                                    ‫‪ 333‬ﺷﺎرع ﻛوﻧﺳﺗﯾﺗﯾوﺷن ﺷﻣﺎل ﻏرب‬
                                          ‫واﺷﻧطن اﻟﻌﺎﺻﻣﺔ ‪20001‬‬
                               ‫ھﺎﺗف ﻏرف اﻟﻘﺎﺿﻲ‪001 (202) 354-3440 :‬‬
                       ‫ھﺎﺗف ﻧﺎﺋب اﻟﻘﺎﺿﻲ ﻓﻲ ﻗﺎﻋﺔ اﻟﻣﺣﻛﻣﺔ‪001 (202) 354-3101 :‬‬




                                                                                  ‫إﻟﻰ اﻟﻣﺣﺎﻛم اﻟﻌﻣﺎﻧﯾﺔ اﻟﻣوﻗرة‪:‬‬
 ‫ﯾﻠﺗﻣس اﻟﻣوﻗﻊ أدﻧﺎه ﻣﺳﺎﻋدﺗﻛم ﻓﻲ اﻟﺣﺻول ﻋﻠﻰ اﻷدﻟﺔ اﻟﻣوﺟودة ﻓﻲ ﻋﻣﺎن ﻻﺳﺗﺧداﻣﮭﺎ ﻓﯾﻣﺎ ﯾﺗﻌﻠﻖ ﺑدﻋوى ﻣدﻧﯾﺔ ﻗﯾد‬
   ‫اﻟﻧظر ﺣﺎﻟﯾًﺎ ﻓﻲ اﻟﻣﺣﻛﻣﺔ اﻟﺟزﺋﯾﺔ اﻷﻣرﯾﻛﯾﺔ ﻟﻣﻘﺎطﻌﺔ ﻛوﻟوﻣﺑﯾﺎ‪ .‬وﻓﯾﻣﺎ ﯾﻠﻲ اﻟﻣﻌﻠوﻣﺎت اﻟﻣﺗﻌﻠﻘﺔ ﺑﺎﻷدﻟﺔ اﻟﻣطﻠوﺑﺔ واﻟﻣوﺿوع‬
                                                                                                        ‫اﻟﻣﺗﻌﻠﻘﺔ ﺑﮫ‪:‬‬


   ‫ﻣؤﺳﺳﺔ ‪ Smartmatic USA‬وﺷرﻛﺔ ‪Smartmatic International Holding‬‬                                ‫اﺳم اﻟﻘﺿﯾﺔ اﻻﻣرﯾﻛﯾﺔ‬
                             ‫‪ .B.V‬وﺷرﻛﺔ ‪SGO Corporation Limited‬‬
     ‫ﺿد ﺷرﻛﺔ ‪ ،Herring Networks, Inc‬واﻟﺗﻲ ﺗﻣﺎرس أﻋﻣﺎﻟﮭﺎ ﺗﺣت اﺳم ‪One‬‬
         ‫‪ America News Network‬ﻓﻲ اﻟﻘﺿﯾﺔ رﻗم ‪1:21-cv-02900-CJN‬‬

‫اﻟﻣﺣﻛﻣﺔ اﻟﺟزﺋﯾﺔ اﻷﻣرﯾﻛﯾﺔ ﻟﻣﻘﺎطﻌﺔ ﻛوﻟوﻣﺑﯾﺎ‪ ،‬ﺑرﺋﺎﺳﺔ اﻟﻘﺎﺿﻲ ﻧﯾﻛوﻟز )رﻗم اﻟﻘﺿﯾﺔ‪1:21-:‬‬           ‫اﻟﻣﺣﻛﻣﺔ واﻟﻘﺎﺿﻲ ورﻗم‬
                                                                  ‫‪(cv-02900-CJN‬‬                             ‫اﻟﻘﺿﯾﺔ‬


                                                                    ‫أﺳﻣﺎء وﻋﻧﺎوﯾن اﻷطراف وﻣﻣﺛﻠﯾﮭم )اﻟﻣﺎدة ‪ ،3‬ب(‬


   ‫ﻣؤﺳﺳﺔ ‪ Smartmatic USA‬وﺷرﻛﺔ ‪Smartmatic International Holding‬‬                                          ‫أ‪ -‬اﻟﻣدﻋون‬
                             ‫‪ .B.V‬وﺷرﻛﺔ ‪SGO Corporation Limited‬‬
                           ‫)ﯾﺷﺎر إﻟﯾﮭم ﻣﺟﺗﻣﻌﯾن ﻓﻲ ھذه اﻟوﺛﯾﻘﺔ ﺑﺎﺳم "اﻟﻣدﻋﻲ"(‬

                                                              ‫ﺟوﯾل إرﯾك ﻛوﻧوﻟﻲ‬                           ‫اﻟﻣﻣﺛﻠﯾن‬
                                  ‫ﺷرﻛﺔ ﺑﯾﻧﯾش وﻓرﯾدﻻﻧدر وﻛوﺑﻼن وأروﻧوف ﻟﻠﻣﺣﺎﻣﺎة‬
                                                             ‫‪ 71‬طرﯾﻖ ج‪ .‬واﻛر‬
                                                                   ‫ﺟﻧﺎح ‪1600‬‬
                                                         ‫ﺷﯾﻛﺎﻏو‪ ،‬إﻟﯾﻧوي ‪60606‬‬
                                                        ‫‪001-312-212-4949‬‬
                              ‫اﻟﺑرﯾد اﻹﻟﻛﺗروﻧﻲ‪econnolly@beneschlaw.com :‬‬
           ‫‪Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 41 of 53‬‬


  ‫ﺷرﻛﺔ ‪ ،Herring Networks, Inc‬واﻟﺗﻲ ﺗﻣﺎرس أﻋﻣﺎﻟﮭﺎ ﺗﺣت اﺳم ‪One America‬‬                            ‫ب‪ -‬اﻟﻣدﻋﻰ ﻋﻠﯾﮫ‬
                                                                     ‫‪News Network‬‬
                                                               ‫ﺗﺷﺎرﻟز إل ﺑﺎﺑﻛوك‬                       ‫اﻟﻣﻣﺛﻠﯾن‬
                                                          ‫ﺟﺎﻛﺳون ووﻛر ﻟﻠﻣﺣﺎﻣﺎة‬
                                                                   ‫‪ 1401‬ﻣﺎﻛﯾﻧﻲ‬
                                                                    ‫ﺟﻧﺎح ‪1900‬‬
                                                        ‫ھﯾوﺳﺗن‪ ،‬ﺗﻛﺳﺎس ‪77010‬‬
                                                        ‫‪001-713-752-4210‬‬
                                             ‫اﻟﺑرﯾد اﻹﻟﻛﺗروﻧﻲ‪cbabcock@jw.com :‬‬


‫ﯾدﻋﻲ اﻟﻣدﻋﻲ أن اﻟﻣدﻋﻰ ﻋﻠﯾﮫ ﻗﺎم ﺑﺎﻟﺗﺷﮭﯾر ﺑﺎﻟﻣدﻋﻲ ﻣن ﺧﻼل ﺳﻠﺳﻠﺔ ﻣن ﻋﻣﻠﯾﺎت اﻟﺑث‬                       ‫ﻣﻠﺧص اﻟدﻋوى‬
‫اﻟﺗﻠﻔزﯾوﻧﻲ اﻟﺗﻲ ﺣدﺛت ﺑﻌد اﻻﻧﺗﺧﺎﺑﺎت اﻟرﺋﺎﺳﯾﺔ اﻷﻣرﯾﻛﯾﺔ ﻓﻲ ﻋﺎم ‪ .2020‬وﯾؤﻛد اﻟﻣدﻋﻲ أن‬
‫اﻟﻣدﻋﻰ ﻋﻠﯾﮫ ﻗد أﺧﺑر ﻣﺗﺎﺑﻌﯾﮫ أن أﺟﮭزة اﻟﺗﺻوﯾت اﻟﺧﺎﺻﺔ ﺑﺎﻟﻣدﻋﻲ ﻗد ﺗﻌرﺿت ﻟﻼﺧﺗراق وأﻧﮫ‬
‫ﻻ ﯾﻣﻛن اﻟوﺛوق ﻓﻲ ﻧﺗﺎﺋﺞ اﻻﻧﺗﺧﺎﺑﺎت اﻟﻣﻌﻠﻧﺔ‪ .‬وﯾدﻋﻲ اﻟﻣدﻋﻲ أن اﻟﻣدﻋﻰ ﻋﻠﯾﮫ اﺗﮭم اﻟﻣدﻋﻲ زورا ً‬
‫ﺑـ "وﺟود ﻋﻼﻗﺎت ﻣﻊ دﯾﻛﺗﺎﺗورﯾﯾن ﻓﺎﺳدﯾن"‪ ،‬ﻣﻧﮭم ھوﻏو ﺗﺷﺎﻓﯾز )‪ ،(Hugo Chavez‬و"ﺑﺄﻧﮫ‬
‫ﺳﺑﻖ ﻟﻠﻣدﻋﻲ ﺗزوﯾر اﻻﻧﺗﺧﺎﺑﺎت ﻓﻲ ﻓﻧزوﯾﻼ"‪ .‬وﯾدﻋﻲ اﻟﻣدﻋﻲ أن ﺗﺻرﯾﺣﺎت اﻟﻣدﻋﻰ ﻋﻠﯾﮫ‬
                                              ‫أﺿرت ﺑﺳﻣﻌﺔ اﻟﻣدﻋﻲ ﻋﻠﻰ اﻟﻣﺳﺗوى اﻟدوﻟﻲ‪.‬‬


‫ﯾدﻋﻲ اﻟﻣدﻋﻰ ﻋﻠﯾﮫ أﻧﮫ ﻏﯾر ﻣﺳؤول ﻋن ﺗﻠك اﻟﺗﺻرﯾﺣﺎت ﻷن اﻟﺗﺻرﯾﺣﺎت اﻟﺗﻲ ظﮭرت ﻓﻲ‬                          ‫ﻣﻠﺧص اﻟدﻓﺎع‬
‫ﻋﻣﻠﯾﺎت اﻟﺑث اﻟﺗﻠﯾﻔزﯾوﻧﯾﺔ اﻟﻣﻌﻧﯾﺔ ﻟم ﺗﻛن ﺗﺷﮭﯾرﯾﺔ وأﻧﮭﺎ ﻛﺎﻧت ﻣﺣﻣﯾﺔ ﺑﻣوﺟب اﻟﺗﻌدﯾل اﻷول‬
‫ﻟدﺳﺗور اﻟوﻻﯾﺎت اﻟﻣﺗﺣدة اﻷﻣرﯾﻛﯾﺔ وأن اﻟﻣدﻋﻰ ﻋﻠﯾﮫ ﻟم ﯾُد ِل ﺑﺄي ﺗﺻرﯾﺣﺎت ﺑﻧﯾﺔ ﺗﻌﻣد اﻷذى أو‬
‫ﺑﺳوء ﻧﯾﺔ ﻓﻌﻠﻲ وإﻧﻣﺎ ﻛﺎﻧت اﻟﻌﺑﺎرات ﺻﺣﯾﺣﺔ أو ﺻﺣﯾﺣﺔ إﻟﻰ ﺣد ﻛﺑﯾر وأن اﻟﻣدﻋﻲ ﻟم ﯾﺗﻌرض‬
‫ﻷي ﺿرر ﻧﺎﺗﺞ ﻋن أي ﺗﺻرﯾﺣﺎت أدﻟﻰ ﺑﮭﺎ اﻟﻣدﻋﻰ ﻋﻠﯾﮫ؛ وأي ﺿرر ﺑﺎﻟﺳﻣﻌﺔ ﺗﻌرض ﻟﮫ‬
‫اﻟﻣدﻋﻲ ﻛﺎن ﺑﺳﺑب ﺳﻠوﻛﮫ ﻓﻲ ﻣﺧﺗﻠف اﻟوﻻﯾﺎت اﻟﻘﺿﺎﺋﯾﺔ ﺑﻣﺎ ﻓﻲ ذﻟك ﻋﻣﺎن‪ ،‬وﻟﯾس ﻧﺗﯾﺟﺔ‬
                                                                ‫ﻟﺗﺻرﯾﺣﺎت اﻟﻣدﻋﻰ ﻋﻠﯾﮫ‪.‬‬


  ‫ﯾطﻠب اﻟﻣوﻗﻊ أدﻧﺎه أن ﺗﺗﻘدﻣوا ﺑطﻠب ﻟوزارة اﻟداﺧﻠﯾﺔ وﺗﻛﻧوﻟوﺟﯾﺎ اﻹدارة اﻟﺻﻧﺎﻋﯾﺔ واﻟﻣﻘﺎوﻻت‬       ‫اﻟﻣﺳﺗﻧدات اﻟﻣطﻠوب‬
  ‫ﻟﺗﻘدﯾم اﻟﻣﺳﺗﻧدات واﻻﺗﺻﺎﻻت اﻟﻣﺗﻌﻠﻘﺔ ﺑﺑراﻣﺞ أو أﺟﮭزة أو ﺗﻛﻧوﻟوﺟﯾﺎ ‪Smartmatic‬‬               ‫اﻟﺣﺻول ﻋﻠﯾﮭﺎ ﻣن ﻋﻣﺎن‬
  ‫ﻟﻠﺗﺻوﯾت أو اﻻﻧﺗﺧﺎﺑﺎت أو ﺧدﻣﺎت اﻟدﻋم اﻟﻣﻘدﻣﺔ ﻣن ‪ Smartmatic‬اﻟﻣﺳﺗﺧدﻣﺔ ﺧﻼل‬
  ‫اﻧﺗﺧﺎﺑﺎت اﻟﻣﺟﺎﻟس اﻟﺑﻠدﯾﺔ ﻓﻲ ﻋﻣﺎن ﻋﺎم ‪ 2016‬واﻷﺧطﺎء اﻟﺗﻲ ﺣدﺛت ﺧﻼل اﻻﻧﺗﺧﺎﺑﺎت واﻟﺗﻲ‬
  ‫ﺗﺗﻌﻠﻖ ﺑﺑراﻣﺞ وأﺟﮭزة ﻧظﺎم اﻟﺗﺻوﯾت‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك اﻟﻣﺳﺗﻧدات واﻻﺗﺻﺎﻻت ﺧﻼل ﯾوم‬
  ‫اﻻﻧﺗﺧﺎﺑﺎت أو ﻗﺑﻠﮫ أو ﺑﻌده ﻓﯾﻣﺎ ﯾﺗﻌﻠﻖ ﺑﺄي ﻣﺷﻛﻼت ﺗﺗﻌﻠﻖ ﺑﺗﻛﻧوﻟوﺟﯾﺎ اﻟﺗﺻوﯾت اﻟﺧﺎﺻﺔ ﺑـ‬
  ‫‪ ،Smartmatic‬أو ﻧﻘل ‪ Smartmatic‬ﻷي أﺟﮭزة أو ﻣوظﻔﯾن ﺧﺎرج اﻟﺑﻼد‪ ،‬أو أي‬
          ‫‪Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 42 of 53‬‬
   ‫ﺗﺣﻘﯾﻘﺎت أو ﻣراﺟﻌﺎت ﻟﻧﺗﺎﺋﺞ اﻧﺗﺧﺎﺑﺎت ‪ ،2016‬أو أي ﻣﺷﻛﻼت أﺧرى ﻓﻲ أﺟﮭزة وآﻻت‬
                                              ‫اﻟﺗﺻوﯾت ذات اﻟﺻﻠﺔ ﺑﺎﻧﺗﺧﺎﺑﺎت ﻋﻣﺎن ‪.2016‬‬




‫ﺑﺎﻹﺿﺎﻓﺔ إﻟﻰ ذﻟك‪ ،‬ﻓﯾﻣﺎ ﯾﺗﻌﻠﻖ ﺑﺗﻘدﯾم اﻟﻣﺳﺗﻧدات اﻟﻣطﻠوﺑﺔ‪ ،‬ﻓﺈن اﻟﻣوﻗﻊ أدﻧﺎه ﯾﻠﺗﻣس أن ﯾﻘوم ﺷﺧص ﻣﻧﺎﺳب ﻣن اﻟﺟﮭﺔ اﻟﺗﻲ‬
‫ﺗﺻدر ﻋﻧﮭﺎ اﻟﻣﺳﺗﻧدات ﺑﺈﻛﻣﺎل وإﻧﻔﺎذ اﻹﻗرار اﻟﻣرﻓﻖ‪ .‬وإذا ﻛﺎن ھذا ﻏﯾر ﻣﻘﺑول‪ ،‬ﻓﺈن اﻟﻣوﻗﻊ أدﻧﺎه ﯾطﻠب اﻟﺗﺻدﯾﻖ ﻋﻠﻰ ﻛون‬
                                                  ‫اﻟﻣﺳﺗﻧدات اﻟﺗﻲ ﺗم ﺗﻘدﯾﻣﮭﺎ ھﻲ ﻧﺳﺦ ﺣﻘﯾﻘﯾﺔ وﺻﺣﯾﺣﺔ ﻣن اﻟﻧﺳﺦ اﻷﺻﻠﯾﺔ‪.‬‬


‫ﺑﺎﻹﺿﺎﻓﺔ إﻟﻰ ذﻟك‪ ،‬ﯾطﻠب اﻟﻣوﻗﻊ أدﻧﺎه ﺟﻣﻊ اﻟﻣﺳﺗﻧدات اﻟﻣطﻠوﺑﺔ وﺗﻘدﯾﻣﮭﺎ إﻟﻰ اﻟﻣوﻗﻊ أدﻧﺎه ﻓﻲ ﻣوﻋد أﻗﺻﺎه ‪ 30‬ﻧوﻓﻣﺑر‬
                                           ‫‪ ،2023‬ﺣﯾث أن ﺗﺑﺎدل أدﻟﺔ اﻟوﻗﺎﺋﻊ ﻓﻲ ھذه اﻟﻘﺿﯾﺔ ﺳﯾﻧﺗﮭﻲ ﻓﻲ ‪ 8‬دﯾﺳﻣﺑر ‪.2023‬‬


‫إذا ﻛﺎﻧت ﻟدﯾﻛم أي أﺳﺋﻠﺔ ﺣول ھذا اﻟطﻠب‪ ،‬ﻓﻼ ﺗﺗرددوا ﻓﻲ اﻟﺗواﺻل ﻣﻊ اﻟﻣوﻗﻊ أدﻧﺎه ﻋﻠﻰ رﻗم ھﺎﺗﻔﮫ أو ﻋﻧواﻧﮫ اﻟﻣذﻛور‬
                                                                                                                ‫أﻋﻼه‪.‬‬



                                     ‫ﻣﻊ ﺧﺎﻟص اﻟﺗﺣﯾﺎت‪،‬‬



                           ‫ﺳﻌﺎدة اﻟﻘﺎﺿﻲ ﻛﺎرل ج‪ .‬ﻧﯾﻛوﻟز‬

               ‫اﻟﻣﺣﻛﻣﺔ اﻟﺟزﺋﯾﺔ اﻷﻣرﯾﻛﯾﺔ ﻟﻣﻘﺎطﻌﺔ ﻛوﻟوﻣﺑﯾﺎ‬
           ‫‪Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 43 of 53‬‬
                                      ‫ﻓﻲ اﻟﻣﺣﻛﻣﺔ اﻟﺟزﺋﯾﺔ اﻷﻣرﯾﻛﯾﺔ‬

                                                  ‫ﻟﻣﻘﺎطﻌﺔ ﻛوﻟوﻣﺑﯾﺎ‬

                                                                    ‫ﻣؤﺳﺳﺔ ‪ Smartmatic USA‬وﺷرﻛﺔ ‪Smartmatic‬‬
                                                                      ‫‪ .International Holding B.V‬وﺷرﻛﺔ ‪SGO‬‬
                                                                                         ‫‪Corporation Limited‬‬
           ‫اﻟﻘﺿﯾﺔ رﻗم ‪1:21-cv-02900-CJN‬‬                                          ‫اﻟﻣدﻋون‬

                                                                                                                  ‫ﺿد‬

                                                                 ‫ﺷرﻛﺔ ‪ ،Herring Networks, Inc‬واﻟﺗﻲ ﺗﻣﺎرس أﻋﻣﺎﻟﮭﺎ‬
                                                                           ‫ﺗﺣت اﺳم ‪One America News Network‬‬

                                                                                     ‫اﻟﻣدﻋﻰ ﻋﻠﯾﮫ‬




                                                        ‫إﻗرار‬
‫أﻗر أﻧﺎ اﻟﻣدﻋو _____________________ وﻋﻣري ﯾزﯾد ﻋن ﺛﻣﺎﻧﯾﺔ ﻋﺷر )‪ (18‬ﻋﺎ ًﻣﺎ‪ ،‬أن اﻟﺣﻘﺎﺋﻖ‬                ‫‪.1‬‬
                       ‫اﻟواردة ﻓﻲ ھذا اﻟﺗﺻرﯾﺢ ﻣﺑﻧﯾﺔ ﻋﻠﻰ ﻣﻌرﻓﺗﻲ اﻟﺷﺧﺻﯾﺔ وﻣراﺟﻌﺗﻲ ﻟﻠﺳﺟﻼت وھﻲ ﺣﻘﯾﻘﯾﺔ وﺻﺣﯾﺣﺔ‪.‬‬

‫وأﻧﺎ أﻋﻣل _________________________________ ]أدﺧل اﻟﻣﺳﻣﻰ اﻟوظﯾﻔﻲ‪/‬اﻟﻣﻧﺻب[‬                             ‫‪.2‬‬
‫ﻟدى _____________________ ]أدﺧل اﺳم ﺟﮭﺔ اﻟﻌﻣل[‪ .‬وﻛﺟزء ﻣن واﺟﺑﺎﺗﻲ اﻟوظﯾﻔﯾﺔ‪ ،‬ﻓﺈﻧﻧﻲ ﻋﻠﻰ دراﯾﺔ ﺑﻣﻣﺎرﺳﺎت‬
‫ﺣﻔظ اﻟﺳﺟﻼت ﻓﻲ _____________________ ]أدﺧل اﺳم ﺟﮭﺔ اﻟﻌﻣل[‪ .‬وأن اﻟﻣﺳﺗﻧدات اﻟﺗﻲ ﯾﺗم إﺻدارھﺎ ﻣن ﻗﺑل‬
‫_____________________ ]أدﺧل اﺳم ﺟﮭﺔ اﻟﻌﻣل[ اﻟﺗﻲ ﺗم إﻋدادھﺎ ﻓﻲ اﻟوﻗت اﻟﻣﺣدد أو ﻧﺣوه ‪ -‬أو ﻣن ﺧﻼل‬
‫اﻟﻣﻌﻠوﻣﺎت اﻟﻣرﺳﻠﺔ ﻣن ﻗﺑل ‪ -‬ﺷﺧص ﻟدﯾﮫ اﻟﻣﻌرﻓﺔ ﻗد ﺗم اﻻﺣﺗﻔﺎظ ﺑﮭﺎ ﻓﻲ ﺳﯾﺎق ﻧﺷﺎط اﻟﻌﻣل اﻟﻣﻌﺗﺎد اﻟذي ﺗﺟرﯾﮫ اﻟﮭﯾﺋﺔ؛ وأن‬
                                                                     ‫إﻋداد اﻟﺳﺟﻼت ھﻲ ﻣﻣﺎرﺳﺔ ﻣﻌﺗﺎدة ﻟﮭذا اﻟﻧﺷﺎط‪.‬‬

                          ‫وأﻗر ﺗﺣت طﺎﺋﻠﺔ اﻟﻌﻘوﺑﺎت اﻟﺟﻧﺎﺋﯾﺔ ﻟﻘواﻧﯾن ﻋﻣﺎن أن ﻣﺎ ﺳﺑﻖ ﺻﺣﯾﺢ وﺣﻘﯾﻘﻲ‪.‬‬       ‫‪.3‬‬



                                    ‫ﺗﺣرﯾرا ﻓﻲ ﯾوم _______ اﻟﻣواﻓﻖ _____ ﻣن ﺷﮭر ______ ﻟﻌﺎم ______‪.‬‬
                                                                                             ‫ً‬



                    ‫اﻟﺗوﻗﯾﻊ‪________________ :‬‬

                   ‫اﺳم‪__________________ :‬‬
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 44 of 53




                                The Honorable Carl J. Nichols
    Judge of the United States District Court for the District of Columbia (Washington, DC)
                                333 Constitution Avenue N.W.
                                    Washington D.C. 20001
                    Telephone of Judge’s Chambers: 001 - (202) 354-3440
                Telephone of Judge’s Courtroom Deputy: 001 - (202) 354-3101


Dear Honorable Courts of Belgium:

        The undersigned requests your assistance in obtaining evidence that is located in Belgium
for use in connection with a civil lawsuit that is currently pending in the United States District
Court for the District of Columbia. Information regarding the requested evidence and the matter
to which it relates is as follows:

      Name of the U.S.             Smartmatic USA Corp., Smartmatic International
      case                         Holding B.V., and SGO Corporation Limited versus
                                   Herring Networks, Inc., doing business as One
                                   America News Network (Case Number 1:21-cv-
                                   02900-CJN)

      Court, Judge, and            United States District Court for the District of
      Case Number                  Columbia, Judge Nichols presiding (Case Number
                                   1:21-cv-02900-CJN)


      Names and addresses of the parties and
      their representatives (article 3, b)

      a Plaintiffs                 Smartmatic USA Corp., Smartmatic International
                                   Holding B.V., and SGO Corporation Limited
                                   (collectively referred to in this document as
                                   “Plaintiff”)

         Representatives           Joel Erik Connolly
                                   Benesch, Friedlander, Coplan & Aronoff LLP
                                   71 S. Wacker Drive
                                   Suite 1600
                                   Chicago, IL 60606
                                   001 - 312-212-4949
                                   Email: econnolly@beneschlaw.com

      b Defendant                  Herring Networks, Inc., doing business as One
                                   America News Network
Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 45 of 53




   Representatives    Charles L. Babcock
                      Jackson Walker L.L.P.
                      1401 McKinney
                      Suite 1900
                      Houston, TX 77010
                      001 - 713-752-4210
                      Email: cbabcock@jw.com

Summary of            Plaintiff contends that Defendant defamed Plaintiff
complaint             through a series of television broadcasts occurring
                      after the U.S. presidential election in 2020. Plaintiff
                      contends that the Defendant told its audience that
                      Plaintiff’s voting machines were compromised and
                      that the reported outcome of the election could not
                      be trusted. Plaintiff contends that Defendant falsely
                      accused Plaintiff of “having connections to corrupt
                      dictators,” including Hugo Chavez, and “of having
                      previously rigged an election in Venezuela.”
                      Plaintiff contends that Defendant’s statements have
                      harmed Plaintiff’s reputation on an international
                      scale.

Summary of defense    Defendant contends that it is not liable because
                      statements appearing on the television broadcasts at
                      issue: were not defamatory; were protected by the
                      First Amendment to the U.S. Constitution;
                      Defendant did not make any statements with actual
                      malice; the statements were true or substantially
                      true; Plaintiff did not suffer any damage as a result
                      of any statements made by Defendant; and any
                      reputational harm that Plaintiff has suffered has been
                      due to its own conduct in various jurisdictions,
                      including Belgium, not Defendant’s statements.

Documents             The undersigned requests that you ask IBZ
requested to be       (Intérieur Binnenlandse Zaken) Federal
obtained from         Public Service Interior for Plaintiff’s
Belgium               proposals and associated communications to
                      provide election-related services or products
                      from 2020 through the present, or Plaintiff’s
                      other submissions to IBZ. To the extent that
                      there are documents that show why Plaintiff
                      was not selected, the undersigned requests
                      such documents as well.
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 46 of 53




        Additionally, the undersigned requests that, in connection with providing the requested
documents, an appropriate individual from the organization producing the documents complete
and execute the attached declaration. If this is unacceptable, the undersigned requests that a
certification be made that the documents that are produced are true and correct copies of the
originals.

        Additionally, the undersigned requests that the requested foregoing documents be collected
and provided to the undersigned by 30 November 2023. The reason for this is that the exchange
of fact evidence in this case closes on 8 December 2023.

       If you have any questions about this request, please do not hesitate to reach out to the
undersigned at its telephone number or address listed above.

                                             Sincerely,



                                             The Honorable Carl J. Nichols
                                             U.S. District Court for the District of Columbia
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 47 of 53




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                     No. 1:21-cv-02900-CJN
                    Plaintiffs,
        v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                    Defendant.


                                        DECLARATION

        1.      My name is _____________________. I am over the age of eighteen (18) years.

The facts stated in this declaration are based on my personal knowledge and my review of records,

and are true and correct.

        2.      I am the _________________________________ [insert job title/position] for

_____________________ [insert name of employer]. As part of my job duties, I am familiar with

the record keeping practices of _____________________ [insert name of employer].                The

documents being produced by _____________________ [insert name of employer] were made at

or near the time by – or from information transmitted by – someone with knowledge; were kept in

the course of a regularly conducted activity of the organization; and making the record was a

regular practice of that activity.

        3.      I declare under criminal penalties of the laws of Belgium that the foregoing is true

and correct.

EXECUTED on the _____ day of ______ month, 20___.

                                                      Signature:
                                                      Name: ________________
           Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 48 of 53


                                             Houston: 2020 Montrose Blvd. #202, Houston, TX 77006
                                             Ph: (713) 589 - 3112

                                             Dallas: 5025 Addison Cir., Addison, TX 75063
                                             Ph:(214) 550-0151




                   Certification of Translation Accuracy

                        ENGLISH TO DUTCH
 Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO
           Corporation Limited versus Herring Networks, Inc


As 24 Hour Translation Services, an independent professional translation
service agency, we hereby confirm that the attached document has been
translated by a sworn professional translator, who is qualified, competent, and
proficient in the aforementioned language pair and that this translation is
complete, true, accurate and faithful in the content, context, and style of the
original document in all respects.

This certificate only attests the accuracy of the translation. We do not vouch for
the authenticity of the original or the veracity of the statements in the
original document. Furthermore, 24 Hour Translation Services takes no
responsibility for the application of the translation by the client or
any third party, including the end-users of the translation.

A copy of the translated document is attached to this certification.

SWORN BEFORE ME at the )
City of Addison, in the         )
State of Texas in the country )
of the United States of America )
this September 11, 2023        )




NOTARY PUBLIC                           LANGUAGE SERVICES REPRESENTATIVE
       Case 1:21-cv-02900-CJN Document 94-3 Filed 09/13/23 Page 49 of 53




                                  De eerbare Carl J. Nichols
 Rechter in de arrondissementsrechtbank van de Verenigde Staten van Amerika voor het district
                                 Columbia (Washington, DC)
                                   333 Grondwetlaan N.W.
                                   Washington D.C. 20001
                  Telefoon van de kamer van de rechter: 001 - (202) 354-3440
                    Telefoon rechter-plaatsvervanger: 001 - (202) 354-3101


Geachte Edelachtbaren van België:

        Hierbij vraag ik om uw hulp bij het verkrijgen van bewijsmateriaal dat zich in België
bevindt, ten behoeve van een civiele rechtszaak die momenteel aanhangig is bij de United States
District Court for the District of Columbia. Hieronder vindt u informatie over het specifieke
bewijsmateriaal en de zaak waarop het betrekking heeft:

      Naam van de                   Smartmatic USA Corp., Smartmatic International
      Amerikaanse zaak              Holding B.V., en SGO Corporation Limited versus
                                    Herring Networks, Inc., handelend onder de naam
                                    One America News Network (Zaaknummer 1:21-cv-
                                    02900-CJN)

      Rechtbank, rechter            United States District Court voor het District
      en zaaknummer                 Columbia, rechter Nichols als voorzitter
                                    (Zaaknummer 1:21-cv-02900-CJN)


      Namen en adressen van de partijen en
      hun vertegenwoordigers (artikel 3, onder b))

      a Aanklagers                  Smartmatic USA Corp., Smartmatic International
                                    Holding B.V., en SGO Corporation Limited
                                    (waarnaar in dit document gezamenlijk wordt
                                    verwezen als "Eiser")

                                    Joel Erik Connolly
      Vertegenwoordigers            Benesch, Friedlander, Coplan & Aronoff LLP
                                    71 S. Wacker Drive
                                    Suite 1600
                                    Chicago, IL 60606
                                    001 - 312-212-4949
                                    E-mail: econnolly@beneschlaw.com

      b Verweerder                  Herring Networks, Inc., handelend onder de naam
                                    One America News Network
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                      Charles L. Babcock
Vertegenwoordigers    Jackson Walker L.L.P.
                      1401 McKinney
                      Suite 1900
                      Houston, TX 77010
                      001 - 713-752-4210
                      E-mail: cbabcock@jw.com

Samenvatting van de   De eiser beweert dat de verweerder hem heeft
klacht                belasterd door middel van een reeks televisie-
                      uitzendingen die hebben plaatsgevonden na de
                      Amerikaanse presidentsverkiezingen in 2020. De
                      eiser beweert dat de verweerder in deze
                      uitzendingen zijn publiek heeft geïnformeerd dat de
                      stemmachines van de eiser waren gecompromitteerd
                      en dat de gerapporteerde verkiezingsuitslag niet
                      betrouwbaar was. Daarnaast beweert de eiser dat de
                      verweerder hem valselijk heeft beschuldigd van
                      "banden met corrupte dictators", zoals Hugo
                      Chavez, en van "het vervalsen van eerdere
                      verkiezingen in Venezuela". De eiser stelt dat deze
                      uitspraken van de verweerder zijn reputatie op
                      internationaal niveau hebben geschaad.

Samenvatting van de   Verweerder stelt dat hij niet aansprakelijk is omdat
verdediging           de verklaringen in de televisie-uitzendingen in
                      kwestie: niet lasterlijk waren; beschermd werden
                      door het Eerste Amendement van de Amerikaanse
                      Grondwet; Verweerder geen verklaringen heeft
                      afgelegd met kwaad opzet; de verklaringen waar of
                      grotendeels waar waren; Eiser geen schade heeft
                      geleden als gevolg van de verklaringen van
                      Verweerder; en alle reputatieschade die Eiser heeft
                      geleden te wijten is aan zijn eigen gedrag in
                      verschillende rechtsgebieden, waaronder België, en
                      niet aan de verklaringen van Verweerder.

Gevraagde             Ondergetekende verzoekt u om IBZ
documenten die uit    (Intérieur Binnenlandse Zaken) Federale
België moeten         Publieke Dienst Binnenlandse Zaken te
worden verkregen      vragen naar de voorstellen en bijbehorende
                      communicatie van Eiser voor het leveren van
                      verkiezingsgerelateerde diensten of
                      producten van 2020 tot heden, of andere
                      inzendingen van Eiser aan IBZ. Voor zover
                      er documenten zijn waaruit blijkt waarom
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                                  Eiser niet is geselecteerd, verzoekt
                                  ondergetekende ook om dergelijke
                                  documenten.

       Bovendien verzoekt ondergetekende dat, in verband met het verstrekken van de gevraagde
documenten, een bevoegd persoon van de organisatie die de documenten produceert de
bijgevoegde verklaring invult en ondertekent. Indien dit onaanvaardbaar is, verzoekt
ondergetekende om een verklaring dat de overgelegde documenten waarheidsgetrouwe kopieën
van de originelen zijn.

       Bovendien verzoekt ondergetekende dat de gevraagde voornoemde documenten uiterlijk
op 30 november 2023 worden verzameld en aan ondergetekende worden verstrekt. De reden
hiervoor is dat de uitwisseling van feitenmateriaal in deze zaak op 8 december 2023 sluit.

       Als u vragen hebt over dit verzoek, aarzel dan niet om contact op te nemen met
ondergetekende op bovenstaand telefoonnummer of adres.

                                           Met vriendelijke groet,



                                          De eerbare Carl J. Nichols
                             Amerikaanse arrondissementsrechtbank voor het district Columbia
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        IN DE ARRONDISSEMENTSRECHTBANK VAN DE VERENIGDE STATEN
                       VOOR HET DISTRICT COLUMBIA

SMARTMATIC USA CORP,
SMARTMATIC HOLDING B.V., EN
SGO CORPORATION LIMITED,
                                                     Nr. 1:21-cv-02900-CJN
                     Eisers,
       v.

HERRING NETWORKS, INC. D/B/A
ONE AMERICA NIEUWSNETWERK,

                     Beklaagde.


                                            VERKLARING

       1.      Mijn naam is _____________________. Ik ben ouder dan achttien (18) jaar. De

feiten in deze verklaring zijn gebaseerd op mijn persoonlijke kennis en mijn beoordeling van

dossiers, en zijn waar en correct.

       2.      Ik ben de _________________________________ [voeg functietitel/functie in]

voor _____________________ [voeg naam van werkgever in]. Als onderdeel van mijn functie

ben ik bekend met de praktijken voor het bijhouden van gegevens van _____________________

[vul   naam    van     werkgever     in].    De   documenten   die   worden   overgelegd   door

_____________________ [naam van werkgever invullen] werden gemaakt op of rond het tijdstip

door - of op basis van informatie doorgegeven door - iemand met kennis; ze werden bewaard in

de loop van een regelmatig uitgevoerde activiteit van de organisatie; en het maken van de opname

was een reguliere praktijk van die activiteit.

       3.      Ik verklaar onder strafrechtelijke sancties van de Belgische wetten dat het
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voorgaande waar en juist is.

UITGEVOERD op de _____ dag van ______ maand, 20___.

                                           Handtekening:
                                           Naam: ________________
